Case 1:23-cr-00236-FB          Document 43-1       Filed 05/30/24      Page 1 of 1 PageID #: 145




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                              X


  UNITED STATES OF AMERICA


                - against -
                                                         23 CR 236 (FB)(MMH)

  NICHOLAS CERAOLO
                                              X

 MARCIA M. HENRY, U.S.M.J.:




               CONSENT TO HAVE A PLEA TAKEN BEFORE UNITED STATES
                          MAGISTRATE JUDGE MARCIA M. HENRY




          United States Magistrate Judge Marcia M. Henry has informed me of my right to have
 my plea taken before a United States District Judge. I have further been advised, however, that 1
 may consent to have my plea taken before Magistrate Judge Marcia M. Henry. I understand
 that I will suffer no prejudice if 1 refuse to so consent. I further understand that if 1 do not
 consent, the District Court Judge assigned rather than the Magistrate Judge will conduct the plea
 allocution.


         After having discussed this matter fully with my counsel, 1 hereby consent to enter my
 plea before United States Magistrate Judge Marcia M. Henry.



                                                      NICHOLAS CERAOLO

                                                      Defendant



                                                                              \


  eSenhanley eflSE                                    ROBERT M. APPLETON
  Assistant United States Attorney                    Attorney for the Defendant


 By:      Breon S. Peace
          United States Attorney                          s/ MMH
                                                      Honoi^le Marcia^. Henry
 Dated:            ?)0^                               United States Magistrate Judge
          Brooklyn, New York
